      CASE 0:23-cv-02015-ECT-JFD         Doc. 187   Filed 02/19/25   Page 1 of 2




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Minnesota Chamber of Commerce, a                    File No. 23-cv-2015 (ECT/JFD)
Minnesota nonprofit corporation,


             Plaintiff,

v.                                                             ORDER

John Choi, in his official capacity as County
Attorney for Ramsey County, Minnesota;
George Soule, in his official capacity as
Chair of the Minnesota Campaign Finance
and Public Disclosure Board; David Asp, in
his official capacity as Vice Chair of the
Minnesota Campaign Finance and Public
Disclosure Board; Carol Flynn, in her
official capacity as Member of the
Minnesota Campaign Finance and Public
Disclosure Board; Dave Kleis, in his official
capacity as Member of the Minnesota
Campaign Finance and Public Disclosure
Board; Stephen Swanson, in his official
capacity as Member of the Minnesota
Campaign Finance and Public Disclosure
Board; and Faris Rashid, in his official
capacity as Member of the Minnesota
Campaign Finance and Public Disclosure
Board,

           Defendants.
________________________________________________________________________
      CASE 0:23-cv-02015-ECT-JFD         Doc. 187     Filed 02/19/25     Page 2 of 2




      Based on the Stipulation for Submissions Relating to Plaintiff’s Petition for

Attorney’s Fees and Costs [ECF No. 185], and on all the files, records, and proceedings

herein, IT IS ORDERED THAT:

      1.     Plaintiff shall file its petition and associated submissions on or before
             February 21, 2025. These submissions will not include an engaged expert’s
             declaration addressing the reasonableness of the hourly rates and fees
             charged in this matter.

      2.     Defendants shall file their submissions responding to Plaintiff’s petition on
             or before March 3, 2025. If Defendants’ responsive submissions do not
             object to the reasonableness of the hourly rates and fees, then Plaintiff will
             not engage an expert to submit a declaration on the reasonableness of the
             hourly rates and fees charged in this matter.

      3.     Plaintiff shall file its reply submission on or before March 17, 2025. If
             Defendants’ responsive submissions object to the reasonableness of the
             hourly rates and fees charged in this matter, then Plaintiff may submit an
             engaged expert’s declaration with its reply.

      4.     If Plaintiff submits an engaged expert’s declaration with its reply, then
             Defendants may file a sur-reply on or before March 24, 2025.

      5.     The Court shall determine whether a hearing will be held on Plaintiff’s
             petition. If a hearing is to be held, it will be scheduled in consultation with
             the parties.


Dated: February 19, 2025                        s/ Eric C. Tostrud
                                                Eric C. Tostrud
                                                United States District Court




                                            2
